       Case 2:16-cv-00501 Document 3 Filed in TXSD on 11/29/16 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

 ABEL PENA

                                                     C.A. No.: 2:16-cv-00501
 VS.


 AMERICAN ZURICH
 INSURANCE COMPANY

                            PLAINTIFF’S NOTICE OF DISMISSAL
TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Plaintiff Abel Pena files this Notice of Dismissal. Because Defendant has yet to answer or

file a motion for summary judgment, Plaintiff has the right to voluntarily dismiss his case without

a court order. Fed. R. Civ. P. 41(a)(1)(A)(i). After this lawsuit was filed, Defendant informed

Plaintiff that it would not seek subrogration or a credit against future benefits. (See Exhibit A).

Therefore, there is no longer a need to litigate this case, and Plaintiff hereby gives notice that he is

dismissing it without prejudice.

                                                     Respectfully submitted,

                                                     /s/ Michael R. Cowen
                                                     S.D. Tex ID No. 19967
                                                     Texas Bar No. 00795306
                                                     COWEN | MASK | BLANCHARD
                                                     62 E. Price Road
                                                     Brownsville, TX 78521
                                                     Telephone: (956) 541-4981
                                                     Facsimile: (956) 504-3674
                                                     E-Mail for filing: efilings@cmbtrial.com
                                                     Personal E-Mail: michael@cmbtrial.com

                                                     ATTORNEY-IN-CHARGE
                                                     FOR PLAINTIFF ABEL PENA
